         Case 4:17-cr-00145-BSM Document 38 Filed 11/02/18 Page 1 of 35



                            UNITED STATES DISTRICT COURT
                            EASTERN DISTRICT OF ARKANSAS

UNITED STATES OF AMERICA                    )
                                            )       No. 4:17CR00145 BSM
vs.                                         )
                                            )
EDGAR K. RIDDICK                            )

       UNITED STATES’ RESPONSE TO DEFENDANT’S MOTION TO SUPPRESS
      EVIDENCE OBTAINED FROM WARRANTLESS SEIZURE FROM CHATSTEP,
      DEFENDANT’S MOTION TO SUPPRESS EVIDENCE FROM CHATSTEP THAT
       EXCEEDED SCOPE OF THE WARRANT, AND DEFENDANT’S MOTION TO
      SUPPRESS EVIDENCE FROM SEARCH OF RESIDENCE AND REQUEST FOR
                         VOLUNTARINESS HEARING

        The United States Attorney for the Eastern District of Arkansas, Cody Hiland, by and

through Kristin Bryant, Assistant United States Attorney, for its Response to Defendant’s Motion

to Suppress Evidence Obtained From Warrantless Seizure from ChatStep (Doc. No. 23),

Defendant’s Motion to Suppress Evidence From ChatStep that Exceeded Scope of the Warrant

(Doc. No. 24) and Defendant’s Motion to Suppress Evidence From Search of Residence and

Request for Voluntariness Hearing (Doc. No. 26), respectfully states:

                              I.      STATEMENT OF FACTS

        On May 30, 2016, Chatstep, an online chatroom conferencing platform, reported to the

National Center for Missing and Exploited Children (“NCMEC”) CyberTipline a possible

incident of child pornography in CyberTipline Report #11995093. The report included the

image, and information about the account that uploaded the image, giving the screenname:

Missy, the Room: Nuderoom and the user’s IP address: 71.238.241.25. (Ex. 1, ¶ 1).

        CyberTipline Report #11995093 was forwarded to the Little Rock Police Department

where a detective viewed the image and concluded it met the definition of child pornography.


                                                1
         Case 4:17-cr-00145-BSM Document 38 Filed 11/02/18 Page 2 of 35



The image depicted a color image of a prepubescent female laying on her back holding herself

up on her elbows, her legs spread exposing her vaginal area. (Ex. 1, ¶ 2).

       On August 18, 2016, LRPD Det. Jennifer Hurd served a subpoena duces tecum on

Chatstep.com for:

       Any and all records regarding the identification of the individual using the IP
       address 71.238.241.25 05-30-2016 04:17:54 UTC to include port number, name,
       address, date account created, account status, email address, alternate email
       address, registration from IP, date IP address registered, log in IP addresses
       associated with session times and dates, detailed billing logs, date account opened
       and closed, method of payment and detailed billing records (log on & log off times).

(Ex. 2). ChatStep responded with information revealing the dates, times, usernames, and the

room names entered into by the IP address 71.238.241.25 from March 30, 2015 to August 18,

2016. (Ex. 2). 1

       Chatstep made another report to NCMEC CyberTipline on December 23, 2016.

CyberTipline Report #16120480 indicated an account using the screenname Mom45 entered the

Room: Nude, Port: 49823 using the IP address 2601:381:8105:1e30:864:e60c:13ed:ea05 and

uploaded suspected child pornography that day at 6:55:40 UTC. (Ex. 1, ¶ 3).

       The image was forwarded to the Little Rock Police Department where Det. Kalmer

reviewed it and determined it met the statutory definition of child pornography. The image was

described as depicting a four prepubescent females nude and exposing their breasts and vaginal

areas. (Ex. 1, ¶ 4).



1
  When the defendant filed his Motion to Suppress Evidence obtained from Warrantless Seizure
from ChatStep, the United States had not produced this subpoena or the results in discovery
because the United States did not have a copy. The subpoena and results provided by ChatStep
have been provided to defense counsel. Defense counsel did not inquire about the process used to
obtain the records prior to filing the motions.

                                                2
         Case 4:17-cr-00145-BSM Document 38 Filed 11/02/18 Page 3 of 35



        On February 14, 2017, Det. Kalmer sent a search warrant to ChatStep for

        Any and all information data and/or content associated with the personal cloud
        storage user account connected to the Chatstep account for screen/user name:
        Mom45           Room:        Nude       Port:49823        and       IP      address
        2601.381.8105.1e30:864:e60c:13ed:ea05, and any remote storage location
        connected to the above account, to include the following (if known and if available)
        . . . 5. IP addresses associated with account access, to include the most recent IP
        address recorded for the last account access and IP addresses recorded for data
        content uploads.” (Ex. 3).

ChatStep then provided four instances that IP address 2601.381.8105.1e30:864:e60c:13ed:ea05

entered rooms in Chatstep. (Ex. 3 & Ex. 1, ¶ 9).

        On January 2, 2017, Chatstep again made a report to NCMEC in CyberTipline Report

#16275741. The report was later forwarded to the Little Rock Police Department and was

viewed by Detective Kalmer. The report indicated that a Chatstep account with the screenname:

ccc entered Room: office, Port: 50094 using IP address:

2601:381:8105:1e30:8438:8cd8:e193:5499 and uploaded an image of child pornography. (Ex. 1,

¶ 5).

        After Detective Kalmer reviewed the image, she determined it met the statutory

definition of child pornography. The image is described as a prepubescent female and one young

female nude and on a bed. The prepubescent female is laying on her back with her legs spread.

The young female is leaning toward the vaginal area of the prepubescent female with her mouth.

An adult male arm and hand is in the picture holding back the hair of the young female. The

focus being on the prepubescent female’s vaginal area. (Ex. 1, ¶ 6).

        On February 15, 2017, LRPD Det. Kalmer served a subpoena duces tecum on

Chatstep.com for:



                                                 3
         Case 4:17-cr-00145-BSM Document 38 Filed 11/02/18 Page 4 of 35



       Any and all records regarding the identification of the individual using the IP
       address 2601:381:8105:1e30:8438:8cd8:e193:5499 01-02-2017 19:53:37 UTC to
       include port number, name, address, date account created, account status, email
       address, alternate email address, registration from IP, date IP address registered,
       log in IP addresses associated with session times and dates, detailed billing logs,
       date account opened and closed, method of payment and detailed billing records
       (log on & log off times).

(Ex. 4). 2 ChatStep responded by providing nine instances that IP address

2601:381:8105:1e30:8438:8cd8:e193:5499 entered rooms in Chatstep from November 4, 2016 to

February 20, 2017. (Ex. 4).

       NCMEC received another report to their CyberTipline on January 4, 2017. This report

was labeled as CyberTipline Report # 16304119 and indicated that a Chatstep account using the

screenname: Missy entered Room: momsonx, Port: 51420 using IP address:

2601:381:8105:1e30:459f:6048:76e:d5f8 and uploaded one image of suspected child

pornography at 14:58:58 UTC. (Ex. 1, ¶ 7).

       CyberTipline Report # 16304119 was later forwarded to the Little Rock Police

Department Vice Detail on February 16, 2017. Detective Kalmer reviewed it that day and

determined it met the statutory definition of child pornography. The image depicted an adult

female and a prepubescent male sitting nude on a bed. The prepubescent male is sitting in the

lap of the adult female. The adult female is touching the prepubescent male’s penis with her

hand, in a manner to masturbate him. (Ex. 1, ¶ 8).




2When the defendant filed his Motion to Suppress Evidence obtained from Warrantless Seizure
from ChatStep, the United States had not produced this subpoena or the results in discovery
because the United States did not have a copy. The subpoena and results provided by ChatStep
have been provided to defense counsel.

                                               4
         Case 4:17-cr-00145-BSM Document 38 Filed 11/02/18 Page 5 of 35



       On February 16, 2017, LRPD Det. Kalmer served a subpoena duces tecum on

Chatstep.com for:

       Any and all records regarding the identification of the individual using the IP
       address 2601.381.8105.1e30:459f:6048:76e:5f8 01-04-2017 14:58:58 UTC to
       include name, address, date account created, account status, email address, alternate
       email address, registration from IP, date IP address registered, log in IP addresses
       associated with session times and dates, detailed billing logs, date account opened
       and closed, method of payment and detailed billing records (log on & log off times).

(Ex. 5). 3 ChatStep responded by providing seven pages of instances that IP address

2601.381.8105.1e30:459f:6048:76e:5f8 entered rooms in Chatstep from November 4, 2016 to

February 20, 2017. (Ex. 5).

       Detective Kalmer found, contained within the material obtained from Chatstep, that the

following IP address: 2601:381:8105:1e30:8438:8cd8:e193:5499 associated with Cybertip

#16275741 entered a room within Chatstep named ‘pedos,’ as well as other sexual related chat

rooms. (Ex. 1, ¶ 11 & Ex. 4).

       Detective Kalmer found, contained within the material obtained from Chatstep, that the

following IP address: 2601:381:8105:1e30:459f:6048:76e:d5f8 associated with Cybertip

#16304119 entered a room within Chatstep named ‘drobox/pedo’ and ‘1cnccnessst’, as well as

other sexual related chat rooms. (Ex. 1, ¶ 12 & Ex. 5).

       Detective Kalmer found, contained within the material obtained from Chatstep that the

following IP address: 71.238.241.25 associated with Cybertip #11995093 entered a room within




3When the defendant filed his Motion to Suppress Evidence obtained from Warrantless Seizure
from ChatStep, the United States had not produced this subpoena or the results in discovery
because the United States did not have a copy. The subpoena and results provided by ChatStep
have been provided to defense counsel.

                                                5
         Case 4:17-cr-00145-BSM Document 38 Filed 11/02/18 Page 6 of 35



Chatstep named ‘daddau’, ‘momsonlove’, ‘momboylove’, and ‘icnest’ as well as other sexual

related chat rooms. (Ex. 1, ¶ 13 & Ex. 2).

        On August 17, 2016, a Duces Tecum Subpoena was sent to Comcast for subscriber

information on IP address 71.238.241.25, used on 05-30-2016, at 04:17:54 UTC, which resulted

in the following information:

                    Subscriber Name: Edgar Riddick

                    Address: 7 Greenbrier Road, Little Rock, AR 72202

                    Phone Number: 501-912-3101

                    Account Number: 8396600011225192

(Ex. 1, ¶ 14).

        On February 8, 2017, a Court Order was sent to Comcast for subscriber information on the

IP address 2601:381:8105:1e30:864:e60c:13ed:ea05, used on 12-23-2016, at 06:55:40 UTC,

which resulted in the following information:

                    Subscriber Name: Edgar Riddick

                    Address: 7 Greenbrier Road, Little Rock, AR 72202

                    Phone Number: 501-912-3101

                    Account Number: 8396600011225192

(Ex. 1, ¶ 15).

        On February 15, 2017, a Court Order was sent to Comcast for subscriber information on

the IP address 2601:381:8105:1e30:8438:8cd8:e193:5499, used on 01-02-2017, at 19:53:37 UTC,

which resulted in the following information:

                   Subscriber Name: Edgar Riddick


                                               6
         Case 4:17-cr-00145-BSM Document 38 Filed 11/02/18 Page 7 of 35



                    Address: 7 Greenbrier Road, Little Rock, AR 72202

                    Phone Number: 501-912-3101

                    Account Number: 8396600011225192

(Ex. 1, ¶ 16).

        On February 16, 2017, a Court Order was sent to Comcast for subscriber information on

the IP address 2601:381:8105:1e30:459f:6048:76e:d5f8, used on 01-04-2017, at 14:58:58 UTC,

which resulted in the following information:

                    Subscriber Name: Edgar Riddick

                    Address: 7 Greenbrier Road, Little Rock, AR 72202

                    Phone Number: 501-912-3101

(Ex. 1, ¶ 17).

        On February 22, 2017, LRPD Detective Amber Kalmer (Det. Kalmer) applied for, and

obtained a state search warrant for the residence located at 7 Greenbrier Road, Little Rock,

Arkansas 72202. (Ex. 1). The search warrant sought evidence related to distribution,

possession, or viewing matter depicting sexually explicit conduct of a child in violation of

Arkansas Code Annotated 5-27-602.

        In her affidavit, Det. Kalmer explained in great detail the traits and characteristics

applicable to individuals who collect child pornography. Specifically, these individuals prefer to

store depictions of child pornography on computers, removable storage devices, or other hardware

or media that can store visual depictions in digital form. These types of devices have large storage

capacities and allow individuals to store child pornography for years at little or not cost, without

the need to delete files. Furthermore, individuals who collect child pornography rarely destroy the


                                                 7
         Case 4:17-cr-00145-BSM Document 38 Filed 11/02/18 Page 8 of 35



materials. Moreover, even if an individual deleted images or files, it is possible such files or parts

of the files can still be retrieved from the computer.        Also, individuals who collect child

pornography often maintain names, addresses (including email addresses), phone numbers, or lists

of persons who have advertised or otherwise made known on the internet that they have similar

deviant interests. (Ex. 1, ¶ 23).

       Det. Kalmer also established that computer files or remnants of such files can be recovered

months or even years after they have been downloaded onto a storage medium, deleted, or viewed

via the internet. Even when files have been deleted, they can be recovered months or years later

using forensic tools. In fact, they may reside in free space or slack space. Furthermore, computers’

internal hard drives contain electronic evidence of how a computer has been used, what it has been

used for, and who has used it. (Ex. 1, ¶ 26).

       Detective Kalmer explained technicians need to be able to thoroughly examine every

digital storage medium in the residence to find traces of hidden documents or correspondence

that might indicate the who, what, where, when, why, and how as well as the instrumentalities

and fruit of the crime for possession, distribution or viewing of child pornography. (Ex. 1, ¶ 27).

       The search warrant was executed on February 23, 2017, and several digital storage

devices were seized from the residence. A later forensic examination of the Seagate hard drive

revealed over a thousand images of suspected child pornography.

       On February 23, 2017, Det. Kalmer and Det. J. Hurd made contact with Lisa Riddick

outside of the residence and advised her of the nature of the search and seizure warrant. Ms.

Riddick advised she lived in the house with her husband, Edgar Riddick, and her daughter, B.R.




                                                  8
         Case 4:17-cr-00145-BSM Document 38 Filed 11/02/18 Page 9 of 35



Ms. Riddick stated that Mr. Riddick would normally hangout in the computer room or where the

other television was because they watched separate shows.

       FBI Special Agent Aaron Hurst and FBI Special Agent Josh Hubbard interviewed Lisa

Riddick and B.R.. Neither of them disclosed any knowledge of Mr. Riddick, or anyone else in the

residence, downloading sexually explicit images of children.

       At the time of the execution of the warrant, Riddick was not at home. Riddick subsequently

returned to the residence. Det. Kalmer and Det. J. Hurd made contact with Edgar Riddick, who

was seated at the kitchen table. Det. Kalmer and Det. J. Hurd identified themselves as being with

the Internet Crimes Against Children Task Force. Riddick was advised that he was not under arrest

and he was free to leave the residence. Riddick stated he understood and he would stay anyway

because we were in his residence and he needed to be there for his wife.

       At approximately 8:25 a.m., Det. Hurd with Det. Kalmer witnessing, advised Riddick of

his Miranda Rights utilizing the LRPD Miranda Rights Form. Riddick waived his rights and

agreed to give a statement. The statement was digitally recorded.

       Riddick admitted to having a Chatstep account and logging on using different personas.

Riddick stated he has internet at his residence through Xfinity (Comcast) and advised the name of

the Wi-Fi was Tower of Millwan and it was password protected. During the interview, Riddick

was asked if he ever uploaded or viewed any sexually explicit images of children and he stated he

had viewed images other users sent on Chatstep but never intentionally downloaded or uploaded

the images. Riddick admitted to viewing and exchanging adult pornography with other users in

Chatstep. Detectives asked Riddick if he knew very much about computers and he stated he did

not know a lot. Riddick stated multiple times during the interview his computer was hacked and


                                                9
        Case 4:17-cr-00145-BSM Document 38 Filed 11/02/18 Page 10 of 35



taken over. He stated his computer would get multiple pop-ups, almost like his computer was

being taken over. Riddick stated he took his computer to Best Buy on Cantrell approximately ten

(10) to fourteen (14) days prior to have it cleaned. Riddick was advised the Little Rock Police

Department received several CyberTips from NCMEC regarding images being uploaded in

Chatstep. Riddick stated he did not want to say anything to incriminate himself. Detectives asked

Riddick if he ever viewed or uploaded sexually explicit images of children at his business, Riddick

Engineering, located at 4600 West Markham.            Riddick stated he usually looked at adult

pornography at his residence but he could not 100% say yes or no, so he was not sure. Detectives

advised Riddick there were Cybertips from NCMEC regarding images being uploaded in Chatstep.

Riddick stated several times during the interview that he did not want to say anything to incriminate

himself. Several times during the interview, when Riddick was asked specific questions in regards

to sexually explicit images of children he would have to take a break and go to the bathroom.

Riddick was told several times he was not under arrest and could leave at any time, Riddick stated

he understood but wanted to stay at the residence because it was his house and wanted to be there

for his wife. Riddick stated he understood he could request a lawyer at any time if he wanted to.

Riddick admitted to using SD cards in cameras to download images and he would bring them home

to view. He also advised he had several discs containing adult pornography in his office drawer.

       Agents seized multiple electronic devices from the residence. A Seagate hard drive seized

from the residence revealed over 1,000 images of child pornography.




                                                 10
        Case 4:17-cr-00145-BSM Document 38 Filed 11/02/18 Page 11 of 35



                           II.    ARGUMENT AND AUTHORITY

       A.      The Defendant had no reasonable expectation of privacy in his IP address.

       The defendant argues that by tracking the defendant’s movements from chatroom to

chatroom, via his IP address, “implicates the same privacy concerns the Court found are

implicated in tracking one’s movements in the physical world – it reveals the privacies of our

lives.” (Doc. No. 23). He further contends that “[r]ecords from chatroom platforms identifying

the rooms that a user frequents reveal the person aspects of an individual’s life that concerned the

Carpenter Court.” (Id.). This is not a tenable extension of the Carpenter holding. Specifically,

an individual has no reasonable expectation of privacy in his IP address.

       The Supreme Court has consistently held, “the ultimate touchstone of the Fourth

Amendment is reasonableness.” Brigham City v. Stuart, 547 U.S. 398, 403, 126 S.Ct. 1943

(2006). The Supreme Court has held reasonableness protects individuals that “seek to preserve

something as private” if their expectation of privacy is “one society is prepared to recognize as

reasonable.” Smith v. Maryland, 442 U.S. 735, 740 (1979).

       On June 22, 2018, the Supreme Court held the warrantless seizure of cell-site-location-

information (“CSLI”) violates the Fourth Amendment unless exigent circumstances are present.

See Carpenter v. United States, 138 S. Ct. 2206 (2018). CSLI is a time-stamped data point

indicating a phone’s physical location within one-eighth to four square miles. A cell phone

generates CSLI simply by being on. Id. at 2211. Once on, the cell phone searches for the

strongest signal, which is generally the closest cell tower, and marks the time when it connects to

a new tower. Id. Depending on the distribution of cell towers, usually the more urban the more

precise the location, CSLI can be as effective as GPS monitoring. Id. at 2211-12. CSLI is


                                                11
           Case 4:17-cr-00145-BSM Document 38 Filed 11/02/18 Page 12 of 35



collected by commercial cell phone service providers for various business purposes and is

generally stored up to five years before being deleted. Id. at 2211-2218.

       In Carpenter, police arrested four men suspected of a string of robberies at Radio Shack

and T-Mobile stores in Detroit. One of the men eventually confessed and named 15 accomplices

who participated in the heists along with some of their cell phone numbers. Id. at 2212. Based

on the confession and a review of the confessing conspirator’s cell phone, the FBI applied for

and received the cell phone records for several accomplices, including Timothy Carpenter, using

a court order issued under the Stored Communications Act. Id. The officers received

Carpenter’s cell phone data for 127 days from one wireless provider and two days from a

different provider. Id. The CSLI showed Carpenter’s phone was near four of the robberies when

they occurred. Id. at 2213. Based on this and other evidence, Carpenter was eventually

convicted of numerous counts related to the robbery spree. Id.

       Carpenter filed a motion to suppress the CSLI obtained from his wireless carriers in the

District Court and again on appeal in the Sixth Circuit. Id. Both courts denied this motion by

reasoning Carpenter did not have a reasonable expectation of privacy in non-content information

given to his wireless carriers. Id.. The Supreme Court granted certiorari and reversed the Sixth

Circuit.

       The Carpenter Court believed CSLI is essentially a GPS system monitoring every

American’s physical movements for the last five years. They determined the Government needs

to get a warrant before they acquire CSLI because society has recognized a legitimate

expectation of privacy in records chronicling an individual’s every physical movement for

months if not years. The Court explained, “Unlike the bugged container in Knotts or the car in


                                                12
        Case 4:17-cr-00145-BSM Document 38 Filed 11/02/18 Page 13 of 35



Jones, a cell phone…tracks nearly exactly the movements of its owner…Accordingly, when the

Government tracks the location of a cell phone it achieves near perfect surveillance”. Carpenter,

585 U.S. at 2218. The Court emphasized the incredible level of detail CSLI provides by virtue of

people carrying their cell phones on their person everywhere. Id. The officer in Jones could

only monitor the movements of the suspect’s car, which rarely leave public scrutiny, but a phone

is frequently away from public scrutiny, thus increasing the intrusiveness of the search. Id.

       After clarifying that society recognizes people have a reasonable expectation of privacy

in their CSLI, the Court explained why the third-party doctrine does not apply to CSLI. Id. at

2219-2220. The Court highlighted two differences between CSLI and the information previously

requested under the third party-doctrine that makes the doctrine inapplicable to CSLI. Id. First,

they pointed out the incredible detail, history, and type of data CSLI makes available, “this case

is not about ‘using a phone’ or a person’s movements at a particular time. It is about a detailed

chronicle of a person’s physical presence compiled every day, every moment, over several

years.” Id. at 2220. This data is much more detailed and extensive than bank documents from a

specific bank or the phone numbers an individual dials from a specific phone. Id. at 2216. The

second basis for determining third-party doctrine, voluntary conveyance, was inapplicable to

CSLI because a cell phone generates the data “by dint of its operation without any affirmative

action on the part of the user beyond powering up.” Id. at 2220. The Court was concerned there

was no voluntary transfer of information to a third-party because the data was collected without

any action by the owners besides turning the phone on. Id. Based on all this, the Court

concluded the third-party doctrine was simply not applicable “in light of the deeply revealing




                                                13
        Case 4:17-cr-00145-BSM Document 38 Filed 11/02/18 Page 14 of 35



nature of CSLI, its depth, breadth, and comprehensive reach, and the inescapable automatic

nature of its collection.” Id. at 2223

        The foundation for the Court’s holding in Carpenter makes clear CSLI is a very special

type of data with incredibly unique characteristics that require the Government to acquire a

warrant before accessing. The self-declared narrow holding in Carpenter has no bearing for the

data collected in this case. The data collected from Chatstep.com does not carry the same

concerns the Court emphasized for CSLI as it does not track the defendant’s physical location.

        The Court determined CSLI provided the government with the ability to track

individuals’ physical movements in public or private because modern individuals always carry

their phones on their person. Id. An individual’s physical movements have long been considered

protected under the Fourth Amendment and society has recognized that expectation as

reasonable even when we are in public. See United States v. Jones 565 U.S. 400, 408 (2012).

Unlike tracking our physical movements across the whole country, if not the world, tracking

someone’s cyber persona through a single website’s chatrooms is not an expectation of privacy

society is prepared to recognize. Similar to the pen register in United States v. Smith, people are

aware their online activity is heavily monitored for a variety of reasons including advertising,

especially when they access third-party sites and use services on those sites. 442 U.S. 735, 741

(1979). Even if society has recognized a lesser privacy interest in a digital persona’s online

movements, it does not mean the data requested from Chatstep.com requires a warrant because

the intrusion is much smaller than CSLI.

        The data requested from Chatstep.com, a single website the defendant digitally visited,

was much more limited than CSLI. Unlike CSLI, which provides information on every physical


                                                 14
        Case 4:17-cr-00145-BSM Document 38 Filed 11/02/18 Page 15 of 35



movement, the data at issue in this case only provides information on very limited digital

movements within a single website, Chatstep.com. This is clearly different from CSLI that

provides detailed data on every physical movement a person makes, not simply data about

movement in a predesignated zone. It was not a request to the Internet Service Provider, in this

case Comcast, for records of every website all the IP addresses associated with a single account

had visited over the course of years.

       In any event, the defendant had a Dynamic IP address, meaning that the IP address

assigned to his account by Comcast can, and frequently does, change at Comcast’s discretion. To

even come close to tracking a suspect’s every movement in the digital sphere, the Government

would have to know every IP address assigned to the defendant during the requested time period.

This applies whether the Government wants to track movements across the whole internet or

even within a single site, e.g. Chatstep.com. It is very possible that there are more IP addresses

associated with the defendant’s Comcast account that accessed Chatstep.com. The Government

was able to associate four IP addresses from multiple NCMEC CyberTipline reports with the

defendant and asked Chatstep.com for records relevant to the IPs mentioned in the reports. Far

from tracking the defendant’s every digital movement on the internet, it is likely that the

Government did not even track his every movement on Chatstep.com.

       Finally, the Court stressed the third-party doctrine rests on the idea of voluntarily

conveying information. See Carpenter, 138 S.Ct. at 2210. The idea of a voluntary conveyance

carries with it strong connotations of affirmative actions. Id. The Court distinguished CSLI as

not voluntarily conveyed because it requires no affirmative action besides the cell phone being

turned on and kept on your person. Id. They also emphasized cell phones were such a pervasive


                                                 15
        Case 4:17-cr-00145-BSM Document 38 Filed 11/02/18 Page 16 of 35



part of modern society as to almost be mistaken as a part of the “human anatomy”. Id. at 2218

(quoting Riley v United States, 134 S.Ct 2473, 2484 (2014)). The Court determined simply

walking around with a cell phone was not enough to declare the party was voluntarily giving up

their location data to anyone. Id. The conveyance of data in this case requires much clearer

affirmative action than the conveyance of CSLI, placing it more in line with the pen register at

issue in Smith. In Smith, placing a call “voluntarily conveyed” the dialed numbers to the phone

company. Smith, 442 U.S. at 744. Similarly, the defendant voluntarily conveyed his data to

Chatstep.com when he turned his computer on, opened his internet browser, went to their

website, Chatstep.com, created or logged into an account with Chatstep.com, and finally created

a room or affirmatively selected a room from a list and entered it. These actions “exposed that

information” to Chatstep.com’s “equipment in the ordinary course of business.” Id. at 744

(internal quotation marks omitted). Unlike, CSLI, which does not requires use of the cell phone’s

services to record CSLI, Riddick had to take multiple affirmative actions including accessing

Chatstep.com and selecting or creating a room to enter before any data was collected by

Chatstep.com.

       In Carpenter, The Court explained that the third-party doctrine is not applicable to CSLI

because CSLI “provides an intimate window into a person’s life, revealing not only his particular

movements, but through them his ‘familial, political, professional, religious, and sexual

associations.’” The defense appears to assert that this single quote means any data that reveals

intimate associations requires a warrant before the being seized. What the defense fails to

account for is that quote comes after the Court declares the third-party doctrine is inapplicable to

CSLI and is in reference to a chronicling an individual’s every physical movements over years,


                                                 16
        Case 4:17-cr-00145-BSM Document 38 Filed 11/02/18 Page 17 of 35



an incredibly detailed and intrusive invasion into a recognized sphere of protection under the

Fourth Amendment. See Carpenter, 138 S.Ct. at 2217. Just because certain information might

reveal intimate associations is not enough, standing alone, to overrule the third-party doctrine.

The phone numbers in Smith or bank records in United States v. Miller, 425 U.S. 435 (1976),

could have easily revealed the existence of familial, political, professional, religious and sexual

associations as well. All of these reveal the intimate associations of a defendant, but the Supreme

Court has allowed the Government to seize the data without implicating the Fourth Amendment

or imposing a warrant requirement. See Smith, 442 U.S. at 744; Miller 425 U.S. at 438. Full

consideration of the reasoning in Carpenter indicates that the petitioners in Smith and Miller

affirmatively and voluntarily conveyed data that did not implicate their physical integrity to a

third-party. Carpenter, 138 S.Ct. at 2226-2227. These factors made the data in those cases and

the data in this case appropriate for seizure under the third-party doctrine without a warrant.

       In United States v. Contreras, the Fifth Circuit, post-Carpenter, found that the defendant

lacked a reasonable expectation of privacy in his family’s IP address in internet provider’s

records. No. 17-11271, 2018 WL 4689962 *2 (5th Cir. Oct. 1, 2018). In doing so, the Court

reasoned that “the third-party doctrine has limits: in Carpenter, the Supreme Court declined to

extend the rule to cell-site records that convey ‘a detailed and comprehensive record of a

person’s movements.’ But the third party doctrine continues to apply to ‘business records that

might incidentally reveal location information,’ including telephone numbers and bank records.’”

Id. The Fifth Circuit stated that IP information “falls comfortably within the scope of the third

party doctrine. The internet service provider’s records revealed only that the IP address was

associated with the Contreras’s Brownwood residence. They had no bearing on any person’s


                                                 17
        Case 4:17-cr-00145-BSM Document 38 Filed 11/02/18 Page 18 of 35



day-to-day movement. Contreras lacked a reasonable expectation of privacy in that information.”

Id.

       The Eighth Circuit has held that a defendant had no reasonable expectation of privacy in

the United States’ acquisition of subscriber information, including his IP address and name form

third-party service providers. United States v. Wheelock, 772 F.3d 825, 828 (8th Cir. 2014)

(citing United States v. Perrine, 518 F.3d 1196, 1204-05 (10th Cir. 2008) (“Every federal court

to address this issue has held that subscriber information provided to an internet provider is not

protected by the Fourth Amendment’s privacy expectation.”). “[E]mail and Internet users have

no expectation of privacy in the to/from addresses of their messages or the IP addresses of the

websites they visit because they should know that this information is provided to and used by

Internet service providers for the specific purpose of directing the routing of information.”

United States v. Stults, 575 F.3d 834 (8th Cir. 2009); United States v. Forrester, 512 F.3d 500,

509-11 (8th Cir. 1999). “Like telephone numbers, which provide instructions to the ‘switching

equipment that processed those numbers,’ email to/from addresses and IP addresses are not

merely passively conveyed through third party equipment, but rather are voluntarily turned over

in order to direct the third party’s servers.” Id. (citing Smith, 442 U.S. at 744).

       The privacy interest in an IP address does not rise to the level of the evidence in

Carpenter such that it would require law enforcement to obtain a search warrant. Even after

obtaining the IP addresses, numerous additional investigatory steps were necessary before law

enforcement was able to identify the defendant as an individual suspect. First, they had to

identify the internet service that controlled the IP address. Second, they subpoenaed the internet

service provider for subscriber information. Third, they conducted surveillance and took other


                                                  18
        Case 4:17-cr-00145-BSM Document 38 Filed 11/02/18 Page 19 of 35



traditional investigatory steps detailed in the search warrant affidavit. Fourth, they applied for

and were granted the search warrant for the residence. Finally, they interviewed the defendant

and reviewed his electronic devices pursuant to the warrant. Thus obtaining an IP address is a

far cry from the “near perfect surveillance” of CSLI that concerned the Supreme Court in

Carpenter. This Court should likewise decline to extend the expressly narrow decision in

Carpenter to IP addresses.

       For these reasons, the Court should deny defendant’s Motion to Suppress Evidence

Obtained from Warrantless Seizure From ChatStep (Doc. No. 23).

       B.      Chatstep did not provide evidence that exceeded the scope of the warrant.

       The defendant contends that ChatStep provided information concerning all of the

defendant’s IP addresses based on one search warrant Det. Kalmer sent to ChatStep (Doc. No.

24). This is incorrect. As noted in the footnotes above, at the time of the filing of the

defendant’s motions to suppress, including document 24, neither the defense nor the United

States had copies of all the subpoenas served on ChatStep. Those copies have since been

provided to defense counsel. As set forth below, ChatStep properly provided information

concerning the defendant’s IP addresses when served with legal process.

       On August 18, 2016, LRPD Det. Jennifer Hurd served a subpoena duces tecum on

Chatstep.com for:

       Any and all records regarding the identification of the individual using the IP
       address 71.238.241.25 05-30-2016 04:17:54 UTC to include port number, name,
       address, date account created, account status, email address, alternate email
       address, registration from IP, date IP address registered, log in IP addresses
       associated with session times and dates, detailed billing logs, date account opened
       and closed, method of payment and detailed billing records (log on & log off times).



                                                 19
        Case 4:17-cr-00145-BSM Document 38 Filed 11/02/18 Page 20 of 35



(Ex. 2). ChatStep responded with information revealing the dates, times, usernames, and the room

names entered into by the IP address 71.238.241.25 from March 30, 2015 to August 18, 2016.

(Ex. 2). As discussed above, ChatStep did not provide any physical location information. Chatstep

did not provide this information in response to Det. Kalmer’s search warrant, which is attached as

Exhibit 3.

       On February 14, 2017, Det. Kalmer sent a search warrant to ChatStep for:

       Any and all information data and/or content associated with the personal cloud
       storage user account connected to the Chatstep account for screen/user name:
       Mom45          Room:       Nude       Port:     49823       and      IP     address
       2601.381.8105.1e30:864:e60c:13ed:ea05, and any remote storage location
       connected to the above account, to include the following (if known and if available)
       . . . 5. IP addresses associated with account access, to include the most recent IP
       address recorded for the last account access and IP addresses recorded for data
       content uploads.” (Ex. 3).

ChatStep then provided four instances that IP address 2601.381.8105.1e30:864:e60c:13ed:ea05

entered rooms in Chatstep. (Ex. 3). Chatstep did not exceed the scope of the warrant by providing

the other instances that IP address 2601.381.8105.1e30:864:e60c:13ed:ea05 entered rooms on

Chatstep because the warrant specifically provided for IP addresses associated with account access

and IP addresses recorded.

       On February 15, 2017, LRPD Det. Kalmer served a subpoena duces tecum on

Chatstep.com for:

       Any and all records regarding the identification of the individual using the IP
       address 2601:381:8105:1e30:8438:8cd8:e193:5499 01-02-2017 19:53:37 UTC to
       include port number, name, address, date account created, account status, email
       address, alternate email address, registration from IP, date IP address registered,
       log in IP addresses associated with session times and dates, detailed billing logs,
       date account opened and closed, method of payment and detailed billing records
       (log on & log off times).



                                               20
        Case 4:17-cr-00145-BSM Document 38 Filed 11/02/18 Page 21 of 35



(Ex. 4). ChatStep responded by providing nine instances that IP address

2601:381:8105:1e30:8438:8cd8:e193:5499 entered rooms in Chatstep from November 4, 2016 to

February 20, 2017. Chatstep did not provide this information in response to Det. Kalmer’s

search warrant which is attached as Exhibit 3.

       On February 16, 2017, LRPD Det. Kalmer served a subpoena duces tecum on

Chatstep.com for:

       Any and all records regarding the identification of the individual using the IP
       address 2601.381.8105.1e30:459f:6048:76e:5f8 01-04-2017 14:58:58 UTC to
       include name, address, date account created, account status, email address, alternate
       email address, registration from IP, date IP address registered, log in IP addresses
       associated with session times and dates, detailed billing logs, date account opened
       and closed, method of payment and detailed billing records (log on & log off times).

(Ex. 5).    ChatStep responded by providing seven pages of instances that IP address

2601.381.8105.1e30:459f:6048:76e:5f8 entered rooms in Chatstep from November 4, 2016 to

February 20, 2017. (Ex. 5). Chatstep did not provide this information in response to Det. Kalmer’s

search warrant which is attached as Exhibit 3.

       In this case, Det. Kalmer lawfully obtained data from ChatStep via subpoenas and a

search warrant. Chatstep did not provide information outside the scope of the warrant issued

and, as discussed above, information relating to the defendant’s IP addresses was properly

disclosed via subpoena.

       For these reasons, defendant’s Motion to Suppress Evidence from ChatStep that

Exceeded Scope of the Warrant (Doc. No. 24) should be denied.

       C.      The search of the defendant’s residence was based on probable cause.

       The defendant argues in his Motion to Suppress Evidence From Search of Residence and

Request for Voluntariness Hearing (Doc. No. 26) that the search warrant was based “on an

                                                 21
        Case 4:17-cr-00145-BSM Document 38 Filed 11/02/18 Page 22 of 35



affidavit that contains illegally obtained information.” In support, the defendant relies on its

assertions in its Motion to Suppress Evidence from ChatStep that Exceeded Scope of the Warrant

(Doc. No. 24) that Chatstep exceeded the scope of the search warrant and provided information

related to other IP addresses. The defendant concedes in his motion that “the determination of

this motion will be based on this Court’s determination of our Motion to Suppress Evidence

From ChatStep That Exceeded the Scope of the Warrant.” The defendant maintains that “our

position is that the warrant only authorized the seizure of information related to a Chatstep

account pertaining to Mom45 Room: Nude Port:49823 and IP address

2601.381.8105.1e30:864:e60c:13ed:ea05 on December 23, 2016. That information is contained

in paragraphs 3 and 4 of Kalmer’s affidavit for the warrant to search Riddick’s home.” (Doc.

No. 26). However, the information provided by ChatStep related to the other IP addresses was

obtained via subpoena, not as a result of the search warrant. Furthermore, as discussed above,

the search warrant authorized ChatStep to provide information concerning IP address

2601.381.8105.1e30:864:e60c:13ed:ea05. In short, ChatStep did not overproduce. Therefore, the

information was properly obtained and the defendant’s Motion to Suppress Evidence From

Search of Residence (Doc. No. 26) should be denied.

       The defendant contends that the information contained in paragraphs 1 and 2, 5 thru

8, and 10 thru 13 were illegally obtained because ChatStep provided information outside

of the search warrant. Paragraph 1 and 2 relate to information obtained from NCMEC, not

information provided to LRPD from ChatStep via subpoena or a search warrant. Therefore,

these paragraphs do not even relate to defendant’s argument. The same applies for

paragraphs 5 thru 8, which relate to information provided by NCMEC to LRPD, not


                                                 22
        Case 4:17-cr-00145-BSM Document 38 Filed 11/02/18 Page 23 of 35



information provided by ChatStep via subpoena or a search warrant. As discussed above,

ChatStep properly responded via subpoena or search warrant in providing the information

contained in paragraphs 10 through 13. Therefore, all of this information was legally in

the search warrant.

       The defendant cites non-binding authority in support of his position that after taking

out the above referenced paragraphs, there was not probable cause to issue the warrant

because the remaining information was stale and failed to establish probable cause. This

is simply not true. Even if the Court finds that paragraphs 1 and 2, 5 thru 8, and 10 thru

13, should be stricken from the search warrant, the warrant still contained probable cause.

In paragraph 3, Det. Kalmer established that a person using IP address

2601.381.8105.1e30:864:e60c:13ed:ea05 uploaded an image of child pornography to

ChatStep on December 23, 2016. In paragraph 15, Det. Kalmer established that IP address

2601.381.8105.1e30:864:e60c:13ed:ea05 was subscribed to Edgar Riddick at 7 Greenbrier

Road, Little Rock, AR 72202. In paragraph 18, Det. Kalmer established that through

surveillance she observed two vehicles registered to Edgar Riddick at 7 Greenbrier Road,

Little Rock, AR.

       In United States v. Chrobak, the Eighth Circuit found sufficient probable cause for

a search warrant based on a single transmission of child pornography that was traced back

to the defendant’s residence. 289 F.3d 1043 (8th Cir. 2002). Specifically, the search

warrant was based on a single transmission of 14 images, some of which contained child

pornography on July 27, 1998. Id. at 1044. The images were sent to a newsgroup website

by an individual who identified himself as Post@them.now.            Id.   “The records of


                                                23
        Case 4:17-cr-00145-BSM Document 38 Filed 11/02/18 Page 24 of 35



Post@them.now’s internet service provider revealed the moniker was registered to one

Daniel Chrobak of North Little Rock, Arkansas.” Id. The FBI was able to identify

Chrobak’s residence and obtained a search warrant for his residence. Id. A search warrant

was executed at Chrobak’s residence on October 27, 1998 – 91 days after the first and only

transmission of child pornography. Id. at 1045. Chrobak argued that there was not

probable cause for the issuance of the warrant because someone else could have used his

email address and the images were “transmitted ninety-one days prior to execution of the

warrant and asserts that evidence was too stale to provide probable cause that images”

would be found at his residence. Id. at 1046. The Eighth Circuit found that agents

“established a sufficient nexus between the transfer and Chrobak’s house by providing

evidence that he lived there and that, in her [the agent’s] experience, pedophiles maintain

their child pornography in a secure place.” Id. The Court also found that the probable

cause was not stale. Id.

       “In the Eighth Circuit, for the purposes of determining whether probable cause

exists to search a computer, an IP address assigned to a specific user at the time illegal

internet activity associated with that IP address occurs is a sufficient basis to find a nexus

between the unlawful use of the internet at that IP address and a computer possessed by the

subscriber assigned the address.” United States v. Reibert, No. 8:13CR107, 2015 WL

366716, at *3 (D. Neb. Jan. 27, 2015) (citing United States v. Stults, 575 F.3d 834, 843–44

(8th Cir. 2009) (holding that probable cause supported warrant where officers used IP

address to identify possessor of child pornography on a file-sharing network); United States

v. Perrine, 518 F.3d 1196, 1205–06 (10th Cir. 2008) (upholding probable cause where


                                                 24
         Case 4:17-cr-00145-BSM Document 38 Filed 11/02/18 Page 25 of 35



pornographic images were traced to defendant's residence using IP address); United States

v. Perez, 484 F.3d 735 (5th Cir. 2007)(the IP address provided “a substantial basis to

conclude that evidence of criminal activity” would be found at the defendant's home, even

if it did not conclusively link the pornography to the residence); United States v. Wagers,

452 F.3d 534, 539 (6th Cir. 2006) (upholding probable cause where suspect was identified

as a member of child pornography websites through an IP address assigned to his

residence); United States v. Hay, 231 F.3d 630, 635–36 (9th Cir. 2000) (finding a

substantial basis for magistrate's probable cause determination where images of child

pornography were traced to defendant using an IP address).

         In this case, the IP address was traced back to the defendant’s residence. Det.

Kalmer established surveillance and observed two vehicles registered to the defendant at

the residence. As in Chrobak, Det. Kalmer established a sufficient nexus between the

upload of child pornography via the defendant’s IP address and his residence. She further

established in her affidavit that pedophiles maintain their child pornography in a secure

place.

         Furthermore, the search warrant was not based on stale information. Paragraph 3

describes that the defendant’s IP address uploaded an image of child pornography on

December 23, 2016. The search warrant in this case was executed on February 23, 2017 –

approximately 60 days after the upload of child pornography. As the Court found in

Chrobak, this lapse of time does not render the probable cause stale.

         “A warrant becomes stale if the information supporting it is not ‘sufficiently close in time

to the issuance of the warrant and the subsequent search conducted so that probable cause can be


                                                  25
        Case 4:17-cr-00145-BSM Document 38 Filed 11/02/18 Page 26 of 35



said to exist as of the time of the search.” United States v. Johnson, 848 F.3d 872, 877 (8th Cir.

2017) (quoting United States v. Lemon, 590 F.3d 612, 614 (8th Cir. 2010)). “[T]here is no

bright-line test for determining when information is stale ... time factors must be examined in the

context of a specific case and the nature of the crime under investigation.” Id. “Important

factors to consider in determining whether probable cause has dissipated . . . include the lapse of

time since the warrant was issued, the nature of the criminal activity, and the kind of property

subject to the search.” Id. “A lapse of time is least important when the suspected criminal

activity is continuing in nature and when the property is not likely to be destroyed or dissipated.”

Id.

       The defendant cites two non-binding cases to support his argument that the probable

cause set forth in paragraph 3 was stale. However, the Eighth Circuit has held that the passing of

more significant periods of time, much more so than 60 days, does not render the probable cause

in a search warrant stale. In Johnson, the Eighth Circuit held that a lapse of eleven months

between the date alleged child pornography pictures were downloaded to the computer and the

issuance of the search warrant was not stale. Id. at 877. See also United States v. Lemon, 590

F.3d at 614 (holding that 18 month gap between the defendant’s last exchange of child

pornography and application for search warrant was not stale); United States v. Morales–

Aldahondo, 524 F.3d 115, 119 (1st Cir. 2008) (holding that three year lapse between defendant’s

purchase of child pornography and warrant application was not stale).

       The search warrant established probable cause that the defendant distributed, possessed

and viewed child pornography. Furthermore, as established in Det. Kalmer’s affidavit,

individuals who view child pornography maintain it for several years and keep it in close


                                                26
         Case 4:17-cr-00145-BSM Document 38 Filed 11/02/18 Page 27 of 35



proximity. (Ex. 1, ¶ 23). The lapse of approximately 60 days in executing the search warrant did

not render it stale.

        Lastly, the search warrant authorized searching for evidence of user attribution. Evidence

of user attribution will nearly always be on a computer. Such evidence could feasibly include

use of ChatStep, photographs, documents, word processing documents, spreadsheets, computer

programs, etc. These sorts of files remain on computers, often indefinitely, but certainly more

than sixty days. Thus, the warrant was not stale, and law enforcement executed the warrant in

good faith reliance on the warrant. Leon, 468 U.S. at 922.

        D.      The defendant’s post-Miranda statement was voluntary.

        The defendant argues that his statement, taken during the execution of the search

warrant, was a result of the illegally seized information found in the affidavit and must be

suppressed. It appears defendant makes a similar argument in his Motion to Suppress

Evidence from Illegal Traffic Stop (Doc. No. 27), in that he argues he was unlawfully

detained; therefore, any statement made after the unlawful detention was not voluntary.

        First and foremost, as discussed above, the search warrant was based on probable cause

and not on illegally seized information. Nevertheless, if the Court determines that the search

warrant was based on illegally seized information, the defendant’s statement was still voluntary.

Officers executed the warrant in good faith, and the defendant, who was not in custody,

voluntarily consented to an interview post-Miranda. “An individual’s waiver of the Fifth

Amendment privilege against self-incrimination . .. is valid if made voluntarily, knowingly and

intelligently.” United States v. Crisolis-Gonzalez, 742 F.3d 830, 838 (8th Cir. 2014) (quoting United

States v. Harper, 466 F.3d 634, 643 (8th Cir. 2006). The Court looks to the totality of the


                                                  27
        Case 4:17-cr-00145-BSM Document 38 Filed 11/02/18 Page 28 of 35



circumstances in determining the voluntariness of a statement. Id.

       The trial judge in determining the issue of voluntariness shall take into
       consideration all the circumstances surrounding the giving of the confession,
       including (1) the time elapsing between arrest and arraignment of the defendant
       making the confession, if it was made after arrest and before arraignment; (2)
       whether such defendant knew the nature of the offense with which he was charged
       or of which he was suspected at the time of making the confession; (3) whether or
       not such defendant was advised or knew that he was not required to make any
       statement and that any such statement can be used against him; (4) whether or not
       such defendant had been advised prior to questioning of his right to assistance of
       counsel; and (5) whether or not such defendant was without the assistance of
       counsel when questioned and when giving such confession. The presence or
       absence of any of the above-mentioned factors to be taken into consideration by the
       judge need not be conclusive on the issue of voluntariness of the confession.

18 U.S.C. § 3501(b).

       Here, the defendant was not under arrest or in custody at the time he made the statement,

he was aware of the nature of the investigation, and he had been advised of his Miranda rights

even though he was not in custody. Other than the alleged illegal search and detention, the

defendant has articulated no basis for a finding that the statement was involuntarily given and the

totality of the circumstances weigh in favor of admission of the statement.

       i.      Application of the exclusionary rule is not appropriate under the attenuation
               doctrine.

       Evidence should only be excluded if the “illegality is at least a but-for cause of obtaining

the evidence.” United States v. Hastings, 685 F.3d 724, 728 (8th Cir. 2012). The defendant

“bears the burden of establishing a nexus between the alleged constitutional violation” and the

evidence obtained. Id. See also United States v. Ellis, 501 F.3d 958, 963 (8th Cir. 2007)

(denying motion to suppress statement defendant made after given Miranda warnings at the

police station) (citing United States v. Marasco, 487 F.3d 543, 548 (8th Cir.2007) (reversing the

grant of a motion to suppress because the defendant could not prove that a Fourth Amendment

                                                28
        Case 4:17-cr-00145-BSM Document 38 Filed 11/02/18 Page 29 of 35



violation was the but-for cause of her statements); United States v. Gipp, 147 F.3d 680, 685 (8th

Cir.1998) (stating that because there was not an illegal seizure “the district court did not err in

denying appellant's motion to suppress evidence and statements obtained as a result of the ...

investigatory stop”)). The defendant cannot meet his burden.

       Also, the attenuation doctrine is an established exception to the exclusionary rule. United

States v. Dickson, 64 F.3d 409, 410 (8th Cir. 1995). The Eighth Circuit has held that some

intervening voluntary acts on the part of a defendant, such as consenting to a search, may be

sufficient to purge the taint of an illegality. See, e.g., id. at 410-11; United States v. Ramos, 42

F.3d 1160, 1163-64 (8th Cir. 1994) (overruled on other grounds). The factors to be considered in

determining whether the taint is purged are: “(1) the temporal proximity between the illegal

search or seizure and the consent; (2) the presence of intervening circumstances; and (3) the

purpose and flagrancy of the official misconduct.” United States v. Becker, 333 F.3d 858, 862

(8th Cir. 2003).

       Under Eighth Circuit precedent, fifteen minutes is sufficient to demonstrate an

attenuation of any illegality. United States v. Whisenton, 765 F.3d 938, 942 (8th Cir. 2014). See

also United States v. Herrera-Gonzalez, 474 F.3d 1105, 1112 (8th Cir. 2007) (finding that while

ten minutes does not in itself suggest sufficient attenuation to purge the taint of the stop, neither

does it compel the conclusion that the attenuation was insufficient).

       Here, law enforcement did not act in bad faith. Herrera-Gonzalez, 474 F.3d at 1113 n.5

(noting that the Eighth Circuit has found consent sufficient to purge a taint even in the absence of

intervening circumstances where the circumstances suggest that the officer was not trying to

exploit an illegal situation and his conduct was in good faith) (citing cases). It is clear that law


                                                  29
        Case 4:17-cr-00145-BSM Document 38 Filed 11/02/18 Page 30 of 35



enforcement was not attempting to exploit an illegal situation and believed that they acted in

accordance with the law.

       The defendant cites Brown v. Illinois, for his proposition that the defendant’s post-

Miranda interview was the product of illegally seized information. “In Brown, the Court held

that, to determine whether the causal connection between incriminating statements and an arrest

or search that violated the Fourth Amendment has been broken, Miranda warnings—which

protect Fifth Amendment rights—are relevant but other factors must be considered—the

‘temporal proximity’ of the unconstitutional conduct and the statements, the ‘presence of

intervening circumstances,’ and ‘particularly, the purpose and flagrancy of the official

misconduct.’” United States v. Yorgensen, 845 F.3d 908, 914 (8th Cir.), cert. denied, 138 S. Ct.

89, 199 L. Ed. 2d 57 (2017). “Providing Miranda warnings is an ‘important, although not

dispositive,’ factor that weighs against suppression . . .” Id. “Persons arrested illegally

frequently may decide to confess, as an act of free will unaffected by the initial illegality.” Id.

       In this case, the search of the defendant’s residence began at 7:00 a.m. While the

defendant was not at the residence at the initial entry to the residence, he was brought back to the

residence shortly thereafter. It was not until 8:25 a.m. that he was interviewed. A transcript of

the interview is attached as Exhibit 6. The defendant’s signed Miranda form is attached as

Exhibit 7. Therefore, there appears to be a sufficient temporal span between when the search

began and the defendant was interviewed.

       As to the presence of intervening circumstances, the defendant was advised of his

Miranda rights prior to his interview at his residence and signed a document acknowledging

such. (Ex. 6, pp. 001-007, Ex. 7). See Ramos, 42 F.3d at 1163-64 (holding that the defendant’s


                                                 30
        Case 4:17-cr-00145-BSM Document 38 Filed 11/02/18 Page 31 of 35



voluntarily signing the consent form was sufficiently an act of free will to purge the taint of the

preceding illegal detention and finding the evidence discovered by the consent-to search was

admissible). During the interview, the defendant stated that he freely came back to the residence

and acknowledged that he was not under arrest. (Ex. 6, pp. 004). Det. Hurd told him that he was

free to leave at any time and not under arrest. (Ex. 6, pp. 004). The defendant stated that he was

there for his wife. (Ex. 6, pp. 004). The defendant further stated that he knew he could revoke

consent at any time. (Ex. 6, p. 007). Based on these facts, it is clear there was no flagrant

official misconduct and that the defendant’s waiver of his Miranda warnings was not the product

of any illegal search or seizure.

               ii.     Application of the exclusionary rule would not result in appreciable
                       deterrence.

       Finally, even if the Court finds a Fourth Amendment violation, application of the

exclusionary rule would not result in appreciable deterrence.

       “[T]he Fourth Amendment contains no provision expressly precluding the use of
       evidence obtained in violation of its commands.” Arizona v. Evans, 514 U.S. 1, 10,
       115 S.Ct. 1185, 131 L.Ed.2d 34 (1995). Rather, exclusion of evidence is “a
       judicially created rule ... ‘designed to safeguard Fourth Amendment rights
       generally through its deterrent effect.’ ” Herring, 129 S.Ct. at 699 (quoting United
       States v. Calandra, 414 U.S. 338, 348, 94 S.Ct. 613, 38 L.Ed.2d 561 (1974)).
       “Indeed, exclusion has always been our last resort, not our first impulse, and
       [Supreme Court] precedents establish important principles that constrain
       application of the exclusionary rule.” Id. at 700 (internal citations and quotation
       marks omitted).

       As a judicially-created remedy, the exclusionary rule applies only where “its
       remedial objectives are thought most efficaciously served.” Evans, 514 U.S. at 11,
       115 S.Ct. 1185. The exclusionary rule is not an individual right, but it “applies only
       where it ‘results in appreciable deterrence.’ ” Herring, 129 S.Ct. at 700 (quoting
       United States v. Leon, 468 U.S. 897, 909, 104 S.Ct. 3405, 82 L.Ed.2d 677 (1984))
       (emphasis added) (some internal marks omitted); see also Penn. Bd. of Probation
       & Parole v. Scott, 524 U.S. 357, 368, 118 S.Ct. 2014, 141 L.Ed.2d 344 (1998) (“We
       have never suggested that the exclusionary rule must apply in every circumstance

                                                 31
        Case 4:17-cr-00145-BSM Document 38 Filed 11/02/18 Page 32 of 35



       in which it might provide marginal deterrence.”). The Court also balances the
       benefits of deterrence against the costs of excluding the evidence, particularly the
       social costs of “letting guilty and possibly dangerous defendants go free—
       something that ‘offends basic concepts of the criminal justice system.’ ” Herring,
       129 S.Ct. at 701 (quoting Leon, 468 U.S. at 908, 104 S.Ct. 3405). Finally, the
       Supreme Court includes “an assessment of the flagrancy of the police misconduct”
       in its calculus of whether the exclusionary rule should be applied. Id. (internal
       marks omitted).

United States v. Hamilton, 591 F.3d 1017, 1027–28 (8th Cir. 2010).

       The law enforcement officers involved in this investigation had no reason to believe that

they acted in violation of the Fourth Amendment. They acted in good faith. Suppression would

undermine the truth-seeking function of the judicial system. Therefore, the defendant’s

statement was voluntary and a hearing is not necessary.

       E.    Officers acted in good-faith in issuing the subpoenas and search warrant to
       ChatStep, and in executing the search warrant at the defendant’s residence.

       Even if this Court determines that the affidavit was based on illegally seized information,

that does not automatically result in the suppression of evidence obtained during the execution of

the search warrant. The “exclusionary rule is not applied in cases ‘when an officer acting with

objective good faith has obtained a search warrant from a judge or magistrate and acted within its

scope.’” United States v. Fiorito, 640 F.3d 338, 345 (8th Cir. 2011) (quoting United States v.

Leon, 468 U.S. 897, 920 (1984)). “In cases of good faith, the evidence, although seized pursuant

to a warrant that lacked probable cause, nonetheless is admissible at trial.” Id

       “Leon identified four circumstances in which an officer’s reliance on a warrant is not in

objective good faith: (1) when the affidavit or testimony supporting the warrant contained a

false statement made knowingly and intentionally or with reckless disregard for its truth, thus

misleading the issuing judge; (2) when the issuing judge wholly abandoned her judicial role in


                                                32
        Case 4:17-cr-00145-BSM Document 38 Filed 11/02/18 Page 33 of 35



issuing the warrant; (3) when the affidavit in support of the warrant is so lacking in indicia of

probable cause as to render official belief in its existence entirely unreasonable; and (4) when the

warrant is so facially deficient that no police officer could reasonably presume the warrant to be

valid.” Id. “Entirely unreasonable is not a phrase often used by the Supreme Court, and we find

nothing in Leon or in the Court’s subsequent opinions that would justify our dilution of the

Court’s particularly strong choice of words.” United States v. Ross, 487 F.3d 1120, 1122-23 (8th

Cir. 2007).

       The defendant has not alleged that Det. Kalmer knowingly and intentionally included a

false statement or made one in reckless disregard of the truth. Nor is there an allegation that the

warrant itself was facially deficient. It is unclear whether the defendant’s assertion that the

warrant was based on illegally seized information is intended to argue the second prong, that the

issuing judge wholly abandoned her role, or the third prong, that the affidavit so lacks indicia of

probable cause as to render official belief in its existence unreasonable. Whether the second or

the third prong, or both, is intended, the facts contained in the affidavit provide a connection

between the crimes alleged, the place to be searched and the evidence sought. Because the

affidavit connected the violations to the defendant, and connected evidence of the violations to

the defendant’s office and computers, even if there was some deficiency in the factual basis for

probable cause in the affidavit, execution of the warrant by the agent was in good faith reliance

on the warrant issued by the court.

       Furthermore, at the time detectives served the subpoenas on ChatStep for IP information,

Carpenter had not been decided and was not controlling law. Even if the Court believes the

decision in Carpenter raises new concerns regarding the acquisition of information by subpoena


                                                 33
        Case 4:17-cr-00145-BSM Document 38 Filed 11/02/18 Page 34 of 35



or other legal process, considering the existing precedent discussed above at the time the

investigation took place, the purpose of the exclusionary rule is to deter future Fourth

Amendment violations, not to remedy past ones. Davis v. United States, 564 U.S. 229, 236-37

(2011). The Supreme Court has emphasized that “the exclusionary rule is not an individual right

and applies only where it ‘result[s] in appreciable deterrence.’” Herring v. United States, 555

U.S. 135, 141 (2009) (quoting United States v. Leon, 468 U.S. 897, 909 (1984)). Because

suppression imposes a “costly toll upon truth-seeking and law enforcement objectives” by

“letting guilty and possibly dangerous defendants go free,” a court must find that “the benefits of

deterrence . . . outweigh the costs” before excluding evidence obtained in violation of the Fourth

Amendment. Id. (citation omitted); Davis, 564 U.S. at 237 (“Our cases hold that society must

swallow this bitter pill when necessary, but only as a ‘last resort.’ For exclusion to be

appropriate, the deterrence benefits of suppression must outweigh its heavy costs.”) (citation

omitted). “[W]hen the police act with an objectively reasonable good-faith belief that their

conduct is lawful, or when their conduct involves only a simple, isolated negligence, the

deterrence rationale loses much of its force and exclusion cannot pay its way.” Davis, 564 U.S. at

238 (internal citations and quotation marks omitted). Here, law enforcement relied on existing

precedent and prior experience using the various forms of legal process to obtain the information

necessary for the investigation.

                                      III.   CONCLUSION

       For the reasons set forth above, the United States’s requests the Court deny defendant’s

Motions to Suppress found in document numbers 23, 24, and 26.




                                                 34
        Case 4:17-cr-00145-BSM Document 38 Filed 11/02/18 Page 35 of 35



                                              Respectfully submitted,

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                                CERTIFICATE OF SERVICE

        I hereby certify that on the 2nd day of November, 2018, I filed the foregoing with the Clerk
of the Court and provided a copy to defense counsel.

                                              Kristin Bryant
                                              KRISTIN BRYANT




                                                35
